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                      IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF NEW MEXICO


UNITEDS STATES OF AMERICA,

                     Plaintiff,

vs.                                                          No. 21-CR-0668-JB


TIFFANY ROBINSON,

                     Defendant.

                                  ENTRY OF APPEARANCE

       Joe M. Romero, Jr., Attorney at Law, hereby enters his appearance on behalf of the

Defendant, Tiffany Robinson.

                                                   Respectfully Submitted,


                                                   _______________________
                                                   Joe M. Romero, Jr.
                                                   Romero & Winder, PC
                                                   Attorney for Defendant
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        I HEREBY CERTIFY that on July 27, 2021, I filed the foregoing electronically through
the CM/ECF system, which caused counsel of record to be served by electronic means, as more
fully reflected on the Notice of Electronic Filing.

/s/ Joe M. Romero, Jr.
JOE M. ROMERO, JR.
Attorney for Defendant
